                    IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF DELAWARE

                                    §
BENCH WALK LIGHTING LLC,
                                    §
                                    §
       Plaintiff,
                                    §
                                    §   CIVIL ACTION NO. 18-1732-RGA
  v.
                                    §
                                    §
OSRAM SYLVANIA, INC.; OSRAM
                                    §
LICHT AG; OSRAM GMBH; OSRAM
                                    §
OPTO SEMICONDUCTORS GMBH
                                    §
& CO.; OSRAM OPTO
                                    §
SEMICONDUCTORS, INC.;
                                    §
LEDVANCE GMBH; LEDVANCE LLC;
                                    §
LED ENGINE, INC.,
                                    §
                                    §
       Defendants.

PLAINTIFF’S OPENING BRIEF IN SUPPORT OF ITS MOTION FOR LEAVE TO FILE A
                     SECOND AMENDED COMPLAINT
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 I.    INTRODUCTION

       Plaintiff, Bench Walk Lighting LLC, filed its original complaint on November 2, 2018,

and a First Amended Complaint (“FAC”) on May 10, 2019 (D.I. 13). Defendants filed a partial

Motion to Dismiss (“Motion”) on May 24, 2019 (D.I. 14), and served their Rule 7.1 Corporate

Disclosure Statement (“CDS”) on May 28, 2019, identifying related entities that were not named

in Plaintiff’s FAC. Plaintiff’s instant motion requests leave to file a Second Amended Complaint

(“SAC”) to include these additional parties and to resolve any legitimate concerns raised in

Defendants’ Motion. This case is still in the pleading stage, discovery has not commenced, the

scheduling conference has not been scheduled, and a scheduling order has not yet been entered.

A copy of the proposed SAC is attached as Exhibit A to Plaintiff’s Motion For Leave To File A

Second Amended Complaint, and a redline version illustrating the differences between the FAC

and the SAC is attached as Exhibit B.

II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 15 governs amendments to pleadings generally. Rule

15(a)(2) provides that “[t]he court should freely give leave [to amend] when justice so requires.”

Fed. R. Civ. P. 15(a)(2). The decision to grant or deny leave to amend lies within the court’s

discretion, Foman v. Davis, 371 U.S. 178, 182 (1962), and, accordingly, the Third Circuit takes a

liberal approach to the amendment of pleadings. Dole v. Arco, 921 F.2d 484, 487 (3d Cir. 1990).

In the absence of undue delay, bad faith, or dilatory motives on the part of the moving party, the

amendment should be freely granted, unless it is futile or unfairly prejudicial to the non-moving

party. Shane v. Fauver, 213 F.3d 113, 115 (3d Cir. 2000).
III.    THE SAC ADDS DETAILED FACTUAL ALLEGATIONS

        A.      CORRECT ENTITY NAMES

        The SAC corrects minor typographical errors in the names of two of the Defendants.

 “OSRAM Opto Semiconductors GmbH & Co” is corrected to “OSRAM Opto Semiconductors

 GmbH,” and “Led Engin, Inc.” is corrected to read “LedEngin, Inc.” Counsel for Defendants

 represented that these are the proper names.

        B.      THE SAC ADDS ENTITIES THAT WERE IDENTIFIED BY DEFENDANTS AFTER
                THE FAC WAS FILED

        The SAC adds OSRAM Beteiligungen GmbH and LEDVANCE Holding LLC as jointly

 liable for the alleged infringement. These entities were identified in Defendants’ CDS that was

 served after the FAC was filed. Defendants are not prejudiced by this addition. Indeed, the

 alternative—initiating a separate suit against these entities—would be an inefficient use of the

 Court’s and the parties’ resources. Moreover, adding these entities will not delay or otherwise

 affect the case schedule in any way.

        C.      FACTUAL SUPPORT REGARDING DIRECT INFRINGEMENT

        Defendants’ Motion complains that the FAC provides insufficient allegations of direct

 infringement. Defendants are wrong. This is notice pleading. Plaintiff is not required to prove

 the asserted claims. Nalco Co. v. Chem-Mod, LLC, 883 F.3d 1337, 1350 (Fed. Cir. 2018).

 Nonetheless, to resolve any legitimate concern about the adequacy of notice, the SAC provides

 even more factual support. Specifically, the SAC further supports Count 1 through additional

 diagrams, photos, and explanatory text, removing pictures of substantially similar related products,

 and demonstrates how the accused OSTAR Headlamp Pro meets all elements of claim 1 of U.S.

 Patent No. 6,325,524. SAC at ¶¶ 81-83. Regarding Count 2, the SAC provides additional factual

 support for Plaintiff’s allegations regarding steps in OSRAM’s LED secret manufacturing process.



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SAC at ¶¶ 112, 113. Regarding Counts 3 and 4, the SAC further identifies the source of its

supporting evidence cited in the FAC. SAC at ¶¶ 141, 143 (Count 3); ¶ 170 (Count 4). The SAC

further provides additional factual support for Plaintiff’s allegations regarding the secret operation

of the accused product in Count 4. SAC at ¶ 175. Regarding Count 8, the SAC provides additional

factual support for Plaintiff’s allegations regarding the “diffractive optical element” claim element.

SAC at ¶ 301. Regarding Count 10, the SAC provides additional factual support for Plaintiff’s

allegations regarding the “physically connecting the line of first leads to the line of second leads

with a rail” claim element. SAC at ¶ 358. Regarding Count 12, the SAC provides additional

factual support for Plaintiff’s allegations regarding the “lead frame cavity” claim element. SAC

at ¶ 425. Finally, regarding Count 14, the SAC provides additional factual support for Plaintiff’s

allegations regarding the “printed circuit board” claim element. SAC at ¶ 495. These supporting

allegations do not prejudice Defendants; to the contrary, they provide additional details to

specifically define the allegations and underlying factual bases.

       D.      INDIRECT INFRINGEMENT ALLEGATIONS

       Defendants’ Motion alleges that the FAC provides insufficient allegations of indirect

infringement. Once again, Defendants are wrong. The FAC provides the required allegations to

place Defendants on notice of indirect infringement and even includes examples of supporting

documents, including manuals, marketing materials, and six whitepapers disseminated by

Defendants, showing infringement by Defendants’ products.              The SAC further identifies

Defendants’ own materials and the origin of Defendants’ own data sheets to provide additional

factual support to the already detailed FAC allegations. SAC at ¶¶ 77, 105, 136, 165, 198, 234,

264, 295, 326, 352, 384, 415, 454, and 486.




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       E.      WILLFULNESS ALLEGATIONS

       Defendants’ Motion alleges that the FAC provides insufficient allegations regarding

Defendants’ knowledge of the asserted patents. Specifically, the FAC states that Defendants had

previously been involved in litigation regarding a sister portfolio of the asserted patent portfolio.

The SAC adds factual allegations supporting Defendants’ knowledge that: the asserted patent

portfolio and its sister portfolio were originally assigned to Avago and were sold to Document

Security Systems, Inc. (plaintiff in the prior case) and Plaintiff, respectively (SAC at ¶¶ 88, 116,

146, 178, 211, 245, 276, 307, 365, 397, 431); that diligence conducted by Defendants uncovered

the remaining patents in the Avago LED portfolio (SAC at ¶ 89, 117, 147, 179, 212, 246, 277, 308,

366, 398, 432); and that Defendants were aware of the sale of the entire set of patents from Avago

(SAC at ¶ 90, 118, 148, 180, 213, 247, 278, 309, 367, 399, 433).

       F.      FACTUAL SUPPORT REGARDING THE OSRAM ENTITIES

       Defendants’ Motion alleges that the FAC provides insufficient allegations regarding the

named entities. Motion at 2, 8, 11. The SAC adds factual support for its allegations of

infringement against all entities named in the FAC. Contrary to Defendants’ allegations, the FAC

adequately places Defendants on notice of the allegations concerning the named subsidiaries of

OSRAM Licht AG. Plaintiff’s SAC adds even more facts supporting the allegations regarding the

OSRAM entities. SAC at ¶¶ 17-19. Additionally, the SAC details OSRAM Licht AG’s direction

and control over its subsidiaries (SAC at ¶¶ 20-29), the OSRAM Licht AG subsidiaries (SAC at

¶¶30-34), and OSRAM Business Segments (SAC at ¶¶ 35-37). Further, the SAC explains

OSRAM’s relationship with Defendant LEDVANCE (SAC at ¶¶ 38-43), provides additional

details on OSRAM OPTO Semiconductors (SAC at ¶¶ 44-45), and the OSRAM Combined Group,

including factual allegations establishing OSRAM Licht AG’s direction and control of the

activities relating to infringement of the accused LED products. SAC at ¶¶ 46-57.


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        Regarding these allegations, the SAC pleads additional facts that further support the

 liability of each Defendant in the OSRAM Licht Group for all acts of infringement. SAC at ¶¶ 75,

 103, 134, 163, 196, 231, 261, 293, 324, 350, 382, 413, 452, and 484. The SAC explicitly alleges

 that each of the named Defendants “individually and jointly operating as a common business

 enterprise, develop, design, manufacture, and distribute LED products that infringe” each of the

 14 asserted patents. Id. The SAC further alleges facts demonstrating that the OSRAM entities are

 inextricably intertwined, thus supporting piercing the corporate veil based on both agency and alter

 ego theories. SAC at ¶¶ 17-57. Specifically, the SAC alleges that: (1) the Defendants conducted

 business under the common name “OSRAM Licht Group” or “OSRAM Group” (SAC at ¶¶ 18,

 22, 25, 32, 34, 49 – 50, 55); (2) the OSRAM Licht Group is managed centrally by the Managing

 Board of OSRAM Licht AG in its function as chief operating decision maker (“CODM”) (SAC at

 ¶ 23); and (3) the Managing Board is responsible for the operating activities of the OSRAM Licht

 Group.” Id. The SAC further alleges that OSRAM submits a combined financial report for all of

 its subsidiaries and that OSRAM Licht AG directs and controls the infringing activities of its

 subsidiaries. SAC at ¶¶ 26, 28. Additionally, the SAC alleges that each of the OSRAM Defendants

 are subsidiaries of OSRAM Licht AG, and they are subject to the central “effective control” of the

 CODM of OSRAM Licht AG in all of their “areas of activity,” including specifically the infringing

 activities (SAC at ¶ 28), and that “[d]espite its corporate complexity and large number of

 subsidiaries, the OSRAM Group presents itself to the public as a unified single business entity in

 its corporate disclosures (the “OSRAM Licht Group”). SAC at ¶ 32.

IV.     NO UNDUE DELAY, BAD FAITH, OR DILATORY MOTIVE

        Plaintiff respectfully submits its SAC to make corrections and respond to Defendants’

 subsequent corporate disclosures. The SAC provides further support of its allegations and




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 addresses Defendants’ purported deficiencies in the notice function meant to be served by a

 Complaint.

        Plaintiff’s SAC is timely. A scheduling order has not yet issued, and the deadline for the

 final amendment of pleadings has not yet been set. In a case at a stage of similar procedural

 posture, this Court prospectively granted leave to file a second amended complaint at a time set at

 the pending Rule 16 scheduling conference. Chalumeau Power Sys. LLC v. Alcatel–Lucent, C.A.

 No. 11-1175-RGA, 2012 WL 6968938, at *1 (D. Del. July 18, 2012). As in Chalumeau, the Rule

 16 conference has not yet been scheduled in this case and the deadline for final pleadings is distant.

V.       DEFENDANTS ARE NOT PREJUDICED

        There is no prejudice to Defendants.           The SAC provides additional detail about

 Defendants’ own products, its own documents, and its own corporate structure. Indeed, in a case

 that had advanced far beyond the instant case, this Court granted leave to file a third amended

 complaint to add four patents against seven of the twelve named defendants. HSM Portfolio LLC

 v. Fujitsu Ltd., No. 11-770-RGA, Dkt. No. 426, (D. Del. Aug. 20, 2013) (“the case is still at a

 fairly early stage, and any issues of prejudice can be dealt with by extending the schedule.”)

VI.      THE SAC IS NOT FUTILE

        “‘Futility’ means that the complaint, as amended, would fail to state a claim upon which

 relief could be granted. In assessing ‘futility,’ the District Court applies the same standard of legal

 sufficiency as it applies under Rule 12(6)(6).” Shane v. Fauver, 213 F.3d 113, 115 (3d Cir. 2000).

 The SAC is not futile and adds valuable supporting information that will help both parties define

 the proper boundaries of this case.

        Moreover, Defendants retain the right, if necessary, to refile its partial Motion to Dismiss

 to address any perceived shortcomings. For example, in HSM, this Court held that any alleged

 futility of a third amended complaint could be addressed through the defendant’s proffered motion


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  to dismiss. HSM Portfolio LLC v. Fujitsu Ltd., No. 11-770-RGA, Dkt. No. 426 (D. Del. Aug. 20,

  2013); see also Sipco, LLC, and IP CO., LLC, v. Streetline, Inc., et al, No. 16-830-RGA, Dkt. No.

  24 at *4 (D. Del. June 21, 2017) (in granting a motion to dismiss, the Court stated that one last

  attempt at an amendment would not be futile and gave plaintiff “another chance to amend the

  complaint to meet the requirement that the complaint make plausible allegations of

  infringement.”).

VII.     CONCLUSION

         For the foregoing reasons, Plaintiff’s Motion for Leave to File A Second Amended

  Complaint should be granted.



   Dated: July 3, 2019                               Respectfully Submitted,

                                                      /s/ Eric J. Evain
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